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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
        Al Otro Lado, Inc., et al.,                       Case No.: 17-cv-02366-BAS-KSC
 11
                                        Plaintiffs,       ORDER GRANTING MOTION
 12                                                       TO WITHDRAW AS COUNSEL
              v.                                          FOR PLAINTIFF
 13
        Kevin K. McAleenan, et al.,                       [ECF No. 318]
 14
                                      Defendants.
 15

 16

 17         Before the Court is a Motion to Withdraw Plaintiffs’ Counsel of Record Mary
 18   Bauer. (ECF No. 318.) Plaintiffs’ counsel states that Ms. Bauer is no longer
 19   employed at the Southern Poverty Law Center, which is representing Plaintiffs in
 20   this case. (ECF No. 318-1, Declaration of Stephen M. Medlock ¶ 2.) Defendants
 21   received notice of and have not opposed the motion. (Id. ¶ 4.)
 22         After considering the motion, and good cause appearing, the Court GRANTS
 23   the motion. Accordingly, IT IS HEREBY ORDERED that Mary Bauer is no longer
 24   counsel of record for Plaintiffs in this matter.
 25         IT IS SO ORDERED.
 26

 27   Dated: November 5, 2019
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                                                                                      17cv2366
